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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA 2009 OCT 16 AM I0 00
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA             )                                    GA.

V.                                          CASE NO. CR508-016

ANDREW C. HOLT, AMANDA J.
COSGROVE, and MATTHEW L. BLACK,

      Defendant.


                                ORDER

      Before the Court are the Motions to Continue the Sentencing

of Defendant Holt, one filed by Defendant Holt (Doc. 169) and

one filed by the Government (Doc. 159).            Currently, Defendant

Holt's sentencing is scheduled for October 26, 2009. After

careful consideration, the Motions to Continue are GRANTED.

Defendant Holt's sentencing will be continued to a later date to

be announced at an appropriate time by this Court.

      SO ORDERED this /       day of October, 2009.




                             WILLIAM T. MOORE, JR., CHIEF JUDGE
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
